                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In Re:                                         :                Chapter 13
                                               :
ROBERT W. LEHMAN                               :                2/18/2025 11:00 A.M.
                                               :                Courtroom #4
                                               :
                                               :                Case No. 24-14061


                     ANSWER TO MOTION FOR RELIEF FROM
                             AUTOMATIC STAY

1.       Admitted.

2.       Admitted

3.       Admitted.

4.       Admitted.

5.       Admitted.

6.       Admitted.

7.       Admitted.

8.       Admitted.

9.       Denied.

10.      Denied. Debtors deny that they have failed to make the stated payments as listed

         and avers that Movant is holding payment(s) in abeyance without crediting their

         account. However, if debtors have missed after December 2024, they wish to

         enter into a stipulation allowing them to repay any post-petition arrearages

         through the remainder of their Chapter 13 plan. Appropriate and allowable pre-

         petition arrears will be addressed in Debtor’s plan.

11.      Denied.
12.    Denied.

13.    Denied.

14.    Denied. Debtor will file an amended Plan to address all appropriate arrears.

15.    Denied.

16.    Denied.

17.    Admitted, however, the prior 2 bankruptcy filings were over 15 years ago.

18.    Denied.

19.    Denied.

20.    Denied.

21.    Denied.

22.    Denied

23.    Denied.

24.    Denied.

       WHEREFORE, it is requested that this Honorable Court DENY and DISMISS

movant’s Motion for Relief from the Automatic Stay, or in the alternative approve a

stipulation permitting the Debtors to become current on any missed post-petition

payments.

                                            Respectfully Submitted,

                                            YOUNG, MARR & ASSOCIATES



                             By:            /s/Paul H. Young
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